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                                         THE CITY OF NEW YORK
ZACHARY W. CARTER                      LAW DEPARTMENT                                             JOSEPH GUTMANN
Corporation Counsel                           100 CHURCH STREET                           Assistant Corporation Counsel
                                              NEW YORK, NY 10007                                  Phone: (212) 356-2659
                                                                                                    Fax: (212) 356-3509
                                                                                          Email: jgutmann@law.nyc.gov
                                                                   September 29, 2017



       BY ECF
       Honorable Brian M. Cogan
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re: Sharon Lopez v. City of New York, et al.,
                         17-CV-2848 (BMC)

       Your Honor:

                     I am an Assistant Corporation Counsel in the Special Federal Litigation Division
       of the New York City Law Department assigned to the defense of the above-referenced matter
       and attorney for defendants City of New York, Police Officer Omar Rackoff, and Sergeant
       Henry Etienne. Defendants write to respectfully advise the Court in advance that the
       undersigned will unlikely be able to answer or otherwise respond to the amended complaint on
       behalf of the newly named defendants Ernst, Hall, Klein, Gorman, and Pontecorvo by their
       respective answer due dates of October 12, 2017 and October 18, 2017. Defendants have
       conferred with plaintiff’s counsel, Edward Zaloba, Esq., and he has agreed not to move for a
       default judgment against these defendants prior to October 20, 2017.

                      The undersigned had just become aware via ecf bounce yesterday that summons
       were returned executed for defendants Ernst, Hall, Klein, Gorman and Pontecorvo and that the
       answers for the majority of them are due on October 12th. (See Docket Entry No. 22) The
       undersigned, however, will be out of the office and unavailable on October 5th, 6th, 12th and
       13th for the Jewish Holiday of Sukkot. In addition, this office will be closed on October 9th for
       Columbus Day. This Office has not discussed with any of the newly named defendants the
       manner of service and we make no representation herein as to the adequacy of service upon any
       of the newly named defendants. If service has been effectuated, pursuant to Section 50-k of the
       New York General Municipal Law, this Office must determine, based on a review of the case,
       whether we may represent defendants Ernst, Hall, Klein, Gorman, and Pontecorvo. Defendants
       Ernst, Hall, Klein, Gorman, and Pontecorvo must then decide whether they wish to be
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represented by this Office. See Mercurio v. The City of New York, et al., 758 F.2d 862, 864-65
(2d Cir. 1985) (quoting Williams v. City of New York, et al., 64 N.Y.2d 800, 486 N.Y.S.2d 918
(1985) (decision whether to represent individual defendants is made by the Corporation Counsel
as set forth in state law)). If so, we must obtain defendants Ernst, Hall, Klein, Gorman, and
Pontecorvo’s written authorizations. Only after this procedure has been followed can we
determine how to proceed in this case.

              This Office acknowledges that Your Honor does not grant sua sponte extensions
to non-appearing defendants and is thus filing this letter merely to keep the Court apprised of
ongoing developments in this matter.

                                                   Respectfully submitted,

                                                   /s/

                                                   Joseph Gutmann
                                                   Assistant Corporation Counsel
                                                   Special Federal Litigation Division




cc:    BY ECF
       Edward Zaloba, Esq.
       Attorney for Plaintiff
       118-21 Queens Boulevard
       Suite 504
       Forrest Hills, NY 11375




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